       Case 3:12-cr-02414-WQH                         Document 460                 Filed 07/11/13              PageID.1484               Page 1 of 2


      ""AO 2459 (CASD) (Rev. 12111) Judgment in a Criminal Case
                                                                                                                              FILED
                 Sheet I
                                                                                                                              ,1111   1 1 I)n1'1


                                              UNITED STATES DISTRICT COD ~~CfuTHERN
                                                                              CLERK. J 5. DISTRICT COURT
                                                                                     DISTRICT OF C/UIFOHNIA
                                                                                                                   BY                              DEPUTY
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                    JORGE MARTINEZ-HERRERA (16)                                     Case Number: 12CR2414-WQH
                                                                                    ROBERT SWAIN, CJA
                                                                                    Defendant's Attorney
     REGISTRATION NO. 33496298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMAnON
     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendaut is adjudged guilty of such count(s), which involve the following ofIense(s):
                                                                                                                                              Count
     Title & Section                       Nature of Offense                                                                                Number(s)
21 USC 846, 841(a)(I)                 CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                              1




        The defendant is sentenced as provided in pages 2 through _ _.:::2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s) ----------------------------------------------
 181 Count(s) Underlying indictments                                                is   D arel8l dismissed on the motion of the United States.
 181 Assessment: $100.00

 181 Fine waived                                   o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
      IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shaH notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                             JULY 8,2013




                                                                                                                                            12CR2414-WQH
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AD 245B (CASD) (Rev. 121(1) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment -   Page   2   .of       2
 DEFENDANT: JORGE MARTINEZ-HERRERA (l6)
 CASE NUMBER: 12CR2414-WQH
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
        38 months



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:


   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
          Oat                                     Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ __
              as notified by the United States Marshal.

   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      o before -----------------------------------------------------------------------
      o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                            RETURN
I have executed this judgment as follows:

       Defendant delivered on                                                 to

at ________________________ , with a certified copy of this judgment.


                                                                                       U~ITED STATES MARSHAL


                                                                   By ____________~____~----____- - - - - - - - ­
                                                                                   DEPUTY UNITED STATES MARSHAL




                                                                                                               12CR2414-WQH
